          Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 1 of 15




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTH DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION
     SAVITAR CHARUDATTAN and                           Case No.
     MICHALE HOFFMAN,
           Plaintiffs,
     v.
     SADIE DARNELL, as Sheriff of
     Alachua County,
           Defendant.

                                        COMPLAINT

          Plaintiffs sue Defendant and allege:

                                    Jurisdiction and Venue

     1.   This action for monetary damages, for declaratory and injunctive relief, and

          for other equitable and ancillary relief is brought pursuant to the First

          Amendment to the Constitution of the United States of America; pursuant to

          42 U.S.C. § 1983 (hereinafter “§1983”); and pursuant to Chapter 119, Florida

          Statutes

     2.   This Court has jurisdiction of the federal claims under 28 U.S.C. §§ 1331 and

          1343 (3) and (4) and jurisdiction of the state claims under 28 U.S.C. § 1367.

     3.   Plaintiffs     Savitar   Charudattan         and   Michale   Hoffman   (hereinafter

          “Charudattan” or “Hoffman” respectively, or “Plaintiffs”) are male citizens of

          the United States. Charudattan is a resident of Alachua County, Florida.


                                                 1  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 2 of 15




         Hoffman is a resident of Duval County, Florida.

     4.   Defendant Sadie Darnell (hereinafter “Darnell”), in her official capacity, is

         Sheriff of Alachua County and is responsible for overseeing and managing

         the activities of the Alachua County Sheriff’s Department.

     5.   All actions at issue herein occurred in Alachua County, Florida.

                                  Conditions Precedent

     6.   All conditions precedent to institution of this action have been performed or

         have occurred.

                                   General Allegations

     7.   Charudattan is a local business owner interested in independent journalism

         and the preservation of civil liberties.

     8.   Hoffman is a private investigator who is interested in independent journalism

         and the preservation of civil liberties.

     9.   Plaintiffs have frequently addressed and continue to report on the

         infringement of civil rights by various governmental agencies in their

         capacities as citizens via online posts, videos, and specifically during the

         months leading up to the November 2016 election.

     10.   Alachua County Sheriff’s deputies arrested Charudattan in 2011 in connection

         to his activism, despite his having committed no crime.

     11.   From October 29, 2015, to present day, Defendant has maintained two


                                              2  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 3 of 15




         different Facebook accounts.

     12.   The Defendant, in her official capacity, is responsible for overseeing and

         managing the activities of the Alachua County Sheriff’s Department,

         including the Alachua County Sheriff’s Facebook page,

         @AlachuaCountySheriff.

     13.   During the Defendant’s run for Sheriff in 2016, the Defendant maintained a

         “Re-elect Sadie Darnell for Alachua County Sheriff” Facebook page,

         @ReElectSadieDarnellForSheriff. This Facebook page served as a political

         advertisement paid for and approved by Sadie Darnell, Democrat, for

         Alachua County Sheriff. The page detailed Darnell’s interaction with the

         community, grand jury findings, certain community events, notable holidays

         or anniversaries, political fundraising events, and press in favor of Darnell’s

         re-election.

     14.   Once the Defendant had been re-elected Sheriff, the Defendant changed the

         page to “Sheriff Sadie Darnell,” @SheriffSadieDarnell. The Defendant has

         not added any new posts to the “updated” Sheriff Sadie Darnell page,

         @SheriffSadieDarnell, since November 8, 2016.

     15.   On September 11, 2016, the Alachua County Sheriff’s account,

         @AlachuaCountySheriff, posted a “September 11 Update” to its public

         Facebook page feed.


                                             3  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 4 of 15




     16.   On September 12, 2016, at approximately 2:28 AM, Charudattan used his

         accountability Facebook page Stop Traffic Fraud, @FTC.Alachua.County, to

         post a critical comment on the @AlachuaCountySheriff “September 11

         Update” Facebook post, regarding Lt. Richard Lalonde, a deputy involved in

         Charudattan’s 2011 arrest by the Alachua County Sheriff’s Department.

     17.   At approximately 6:00 AM on September 12, 2016, Defendant permanently

         deleted Stop Traffic Fraud’s “Richard Lalonde comment” from the Alachua

         County Sheriff’s “September 11 Update” Facebook post.

     18.   In response to his comment being deleted, Charudattan again posted, using

         the Stop Traffic Fraud account, a comment about the deletion to the Alachua

         County Sheriff’s “September 11 Update” Facebook post, which was

         ultimately deleted from public view as well.

     19.   When Charudattan presented a public records request to the Alachua County

         Sheriff’s Office for “Official Facebook Timeline Records from September 11,

         2016… [which] may include, but are not necessarily limited to, any posts,

         words, links, comments, photographs, information, data, media and content

         that was created and received on September 11, 2016 and any subsequent or

         continued posts, words, links, comments, photographs, information, data,

         media and content created and received in connection with September 11,

         2016 ACSO Official Facebook Timeline Records”, Defendant failed to


                                           4  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 5 of 15




         produce records of the “Richard Lalonde comment.”

     20.   On September 15, 2016, Darnell, @ReElectSadieDarnellForSheriff, posted

         “Robert Dentmond Grand Jury Update” on her public Facebook page.

     21.   On September 16, 2016, Charudattan used his Stop Traffic Fraud account to

         post a comment to Darnell’s “Robert Dentmond Grand Jury Update” post,

         asking, “What are you doing to address Constitutional training standards for

         your Deputies?”

     22.   On September 16, 2016, the Alachua County Sheriff’s Office posted “ODMP

         William Arthur May Update” to its public Facebook page.

     23.   At approximately 9:51 PM, On September 16, 2016, Charudattan used his

         Stop Traffic Fraud account to post a sarcastic critical comment to the Alachua

         County Sheriff’s Office “ODMP William Arthur May Update,” which was

         deleted permanently by Defendant soon after.

     24.   Sometime between September 16th and September 20th, Darnell deleted Stop

         Traffic Fraud’s Constitutional training comment on Darnell’s “Robert

         Dentmond Grand Jury Update” post.

     25.   During that time period, Darnell permanently banned Stop Traffic Fraud from

         Darnell’s public Facebook page, @ReElectSadieDarnellForSheriff.

     26.   When Charudattan presented a second public records request to the Alachua

         County Sheriff’s Office, for “Alachua County Sheriff’s Official Facebook


                                            5  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 6 of 15




         Timeline Records from September 16, 2016 regarding Deputy Sheriff

         William Arthur May… [which may] include, but are not necessarily limited

         to, any posts, words, links, comments, photographs, information, data, media

         and content that was created and received on September 16, 2016 and any

         subsequent or continued posts, words, links, comments, photographs,

         information, data, media and content created and received in connection with

         September 16, 2016 ACSO Official Facebook Timeline Records regarding

         Deputy Sheriff William Arthur May”, Defendant produced no records of the

         Stop Traffic Fraud sarcastic critical comment.

     27.   By September 20, 2016, Defendant had deleted or hidden from public view

         all of Stop Traffic Fraud’s comments on the Alachua County Sheriff’s Office

         Facebook page, and banned Charudattan’s page Stop Traffic Fraud,

         @FTC.Alachua.County.

     28.   From November 17, 2017 to the present day, Defendant has continually

         denied the production of documents regarding Darnell’s Facebook page in

         connection to the Stop Traffic Fraud account and Darnell’s list of banned

         people and pages.

     29.   When Charudattan presented a third public records request to the Alachua

         County Sheriff’s Office, for “Sheriff Sadie Darnell @SheriffSadieDarnell

         Official Facebook Page Records: The immediate current list of Banned


                                           6  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 7 of 15




         People and Pages” and “From Sheriff Sadie Darnell @SheriffSadieDarnell

         Official Facebook Page Records: Any and all comments and posts made

         specifically by the Facebook page Stop Traffic Fraud! (Alachua County)

         @FTC.Alachua.County,” Defendant produced no documents.

     30.   On September 20, 2016, Alachua County Sheriff’s deputies wrongfully

         detained Hoffman for approximately 45 minutes. Hoffman videoed part of the

         incident.

     31.   At approximately 10:41 PM on September 20, 2016, Hoffman left a public 1-

         star review on the Alachua County Sheriff’s Office public Facebook page,

         @AlachuaCountySheriff, as well as posted a link to the detainment video to

         several (approximately 10) already posted comments.

     32.   At approximately 2:14 AM on September 21, 2016, Hoffman posted a

         comment stating “Maybe you should investigate your Deputies criminal

         actions. Here is video proof. https://youtu.be/2WVUdV1qaYw” with a link

         to the video Hoffman had taken when he was wrongfully detained, to the

         Alachua County Sheriff’s Office public Facebook page,

         @AlachuaCountySheriff.

     33.   On September 21, 2016, Hoffman left several other comments with only the

         link to the wrongful detainment video noted above, on the Alachua County

         Sheriff’s Office Facebook page, @AlachuaCountySheriff. After checking


                                           7  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 8 of 15




         back later that same day, Hoffman found that his comments and links had been

         deleted.

     34.   Hoffman contacted Darnell via phone on September 21, 2016 and, with

         Darnell’s consent, recorded their conversation. During this call, Darnell

         confirmed that the Alachua County Sheriff’s Office Facebook page is a public

         record. Darnell was also notified that the Alachua County Sheriff’s Office

         was deleting Hoffman’s prior comments as well as banning Hoffman from

         making any further comments.

     35.   By September 23, 2016, Defendant had deleted all of Hoffman’s comments

         on the Alachua County Sheriff’s Office Facebook page and Hoffman’s one-

         star review of the Alachua County Sheriff’s Office.

     36.   From September 22, 2016, to the present day, Hoffman remains banned

         from the Alachua County Sheriff’s Office public Facebook page,

         @AlachuaCountySheriff.

     37.   When Charudattan presented a fourth public records request to the Alachua

         County Sheriff’s Office, for “Alachua County Sheriff’s Official Facebook

         Records on or about September 20, 2016 regarding an agency “star review”

         … [which] may include, but are not necessarily limited to, any star ratings,

         posts, words, links, comments, photographs, information, data, media and

         content that was created and received on or about September 20, 2016 and any


                                           8  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 9 of 15




         subsequent or continued posts, words, links, comments, photographs,

         information, data, media and content created and received in connection with

         September 20, 2016 regarding an agency “star review,” Defendant produced

         no documents.

     38.   From January 5, 2018, to the present day, the Alachua County Sheriff’s

         Office’s “General Information” portion of their “About” page espouses a

         social media policy which is facially unconstitutional and vague, allowing it

         to be used to chill or banish criticisms from the page. The policy states that

         “postings made by the Alachua County Sheriff’s Office to our Facebook and

         Twitter pages are done so with the intention of providing the public with

         information we believe is important or newsworthy, and …necessary to

         release in the interest of public safety” and that “the Alachua County Sheriff’s

         Office reserves the right to limit posts from members of the public to those

         which directly relate to our postings, and which conform to our guidelines.”

         This limiting of posts occurs as “it is not the intent of the Alachua County

         Sheriff’s Office to provide a venue or forum for the expression and/or postings

         of unlimited comments, videos, or links simply for the convenience of the

         public.”

     39.   The Alachua County Sheriff’s Office guidelines, as posted on Facebook,

         detail a number of things that should be excluded from comments:


                                             9  
        Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 10 of 15




               “1) Obscene, vulgar, sexually explicit or otherwise offensive

               language/content, or links to such material;

               2) Threats of any kind, particularly toward any other user or the

               Alachua County Sheriff’s Office and its members;

               3) The advocating of criminal acts or other illegal behavior;

               4) Material that has the potential to compromise public safety or the

               safety of law enforcement personnel;

               5) Remarks that disparage or discriminate against anyone based upon

               their sex, race, creed, religious views, national origin, sexual

               orientation, disability, etc.;

               6) Remarks that may be considered libel, made toward any person or

               organization;

               7) Anything that is clearly off the intended topic of discussion;

               8) Information that is clearly inaccurate, unverified, and purposefully

               designed to mislead others;

               9) Campaigning of any type, political or otherwise;

               10) Links to other third-party sites or advertisements;

               11) Any form of solicitation; and

               12) Any other language/material deemed inappropriate or offensive.”

     40.   The Alachua County Sheriff’s Office’s General Information” section warns


                                                10  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 11 of 15




          that “any comments that violate these guidelines may be removed by the

          Alachua County Sheriff’s Office at its sole discretion, and without prior

          warning or notice, but will be retained for the applicable retention period,”

          though it should be noted that “The Alachua County Sheriff’s Office also

          reserves the right to block access to our social media pages to any user who

          consistently violates these guidelines, without prior warning or notice.”

     41.   The Alachua County Sheriff’s Office’s “General Information” portion of their

          “About” page posits that “all content on Alachua County Sheriff’s Office

          social media pages, to include user comments, is considered property of the

          Alachua County Sheriff’s Office, and is subject to disclosure under the

          Florida’s Public Records Act.”

     42.   The acts of Darnell, in her official capacity, have penalized Plaintiffs for the

          exercise of their rights of freedom of speech and freedom to petition

          government, as protected by the First Amendment to the U.S. Constitution.

     43.   The continued existence of Darnell’s ban against Charudattan and the Alachua

          County Sheriff’s Office’s bans against Charudattan and Hoffman respectively

          are ongoing and continuing violations of their constitutional rights to freedom

          of speech as well as their constitutional right to petition the government for

          redress of grievances, and constitute irreparable injury.

     44.   The conduct of Darnell and the Alachua County Sheriff’s Office, as described


                                              11  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 12 of 15




          above, is a content-based restraint of political speech that has a chilling effect

          on Plaintiffs’ exercise of their First Amendment rights.

     45.   The continued refusal of the Alachua County Sheriff’s Office to adequately

          produce documents as requested by the Plaintiffs is a violation of Chapter 119,

          Florida Statutes, as is the destruction of public records occurring when

          Defendant permanently deletes comments with no archiving system.

     46.   Defendant Darnell, in her official capacity, has perpetrated, authorized,

          approved, and ratified the violation of Plaintiffs’ constitutional and statutory

          rights as stated herein.

     47.   Plaintiffs have had to retain counsel and owe a reasonable attorney fee to

          vindicate their rights in these matters.

     COUNT I: 42 U.S.C. § 1983: First And Fourteenth Amendment Violation

     48.   Plaintiffs re-allege the General Allegations as if fully set forth herein.

     49.   The foregoing facts establish a basis for injunctive, equitable, and ancillary

          relief against Defendant Darnell in her official capacity,

     50.   Defendant Darnell, in her official capacity, is a “person” within the meaning

          of §1983.

     51.   The acts of Defendant Darnell as described herein were taken under color of

          state law, custom, or usage.

     52.   The acts of Defendant Darnell as described herein were purposeful and arise


                                               12  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 13 of 15




          from an official policy or custom.

     53.   The Fourteenth Amendment of the United States Constitution guarantees that

          no state shall deprive any person of liberty without due process of law. The

          First Amendment of the United States Constitution, applicable to the states

          under the Fourteenth Amendment, guarantees the right of freedom of speech

          and the right to petition government. These rights stand at the very apex of

          constitutional protection when exercised, as here, in political speech aimed at

          influencing the conduct of the government.

     54.   Defendant’s conduct, in deleting or hiding the Plaintiffs’ comments and

          banning them from her public Facebook pages, is a policy and practice which,

          on its face and as applied to Plaintiffs, has deprived Plaintiffs of their rights

          under the First and Fourteenth Amendments of the United States Constitution

          by interfering with their fundamental rights to freedom of speech and freedom

          to petition government.

     55.   In violating Plaintiffs’ constitutional rights to freedom of speech and right to

          petition government, Defendant has caused and continues to cause irreparable

          damage to Plaintiffs.

                COUNT II: Failure to Produce Records under State Law

     56.   Plaintiff re-alleges the Common Allegations as if fully set forth herein.

     57.   Plaintiff is entitled to relief against Defendant Darnell, as Sheriff of Alachua


                                               13  
         Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 14 of 15




          County, for failure to produce records under Chapter 119, Florida Statutes.

     58.   At all times material hereto, Defendant Darnell had a statutory duty to

          maintain public records and to provide public records to citizens as set forth

          in Chapter 119, Florida Statutes, including the provision of requested public

          records to Plaintiffs.

     59.   Defendant Darnell breached this duty to Plaintiffs by continually denying

          Plaintiffs the records in question.

     60.   Defendant Darnell, through her staff and various administrators, failed to

          adequately maintain public records by deleting numerous comments and a

          review, as well as not allowing public records to be inspected by any person

          desiring to under Chapter 119.07(1)(a) and (2)(a), and violating other

          provisions of Chapter 119, Florida Statutes.

     61.   Defendant failed to respond to formal public records requests and failed to

          perform her duty under § 119.07(1)(e), Florida Statutes, to cite any exemption

          to the statutory duty to produce documents

     62.   These violations entitle Plaintiffs to equitable relief, fees and costs.

                                      Prayer for Relief

          WHEREFORE, plaintiff respectfully requests of the Court:

      A.  to take jurisdiction of this case;

      B.   judgement against Defendant Darnell in her official capacity and for Plaintiffs


                                                14  
       Case 1:18-cv-00109-MW-GRJ Document 1 Filed 06/19/18 Page 15 of 15




        compelling production of the documents described herein and permanently

        enjoining Defendant from future violations of law enumerated herein and

        compelling adoption of policies and procedures for the regulation and

        maintenance of public records

     C.   such damages as may be just and appropriate;

     D.  judgement against the Defendant and for the Plaintiffs awarding the

        Plaintiffs’ attorney’s fees and costs under 42 U.S.C. § 1988 and Chapter

        119, Florida Statutes;

     E.   trial by jury on all counts so triable; and

     F.   such other relief as the Court considers just and proper.

                                                Respectfully Submitted on this 19th day
                                                of June, 2018,

                                                /s/ Richard E. Johnson
                                                Richard E. Johnson, Bar No 858323
                                                richard@nettally.com
                                                Melissa Horwitz, Bar No 017333
                                                melissah@nettally.com
                                                Law Office of Richard E. Johnson
                                                314 West Jefferson Street
                                                Tallahassee, Florida 32301
                                                Telephone: (850) 425-1997
                                                Facsimile: (850) 561-0836
  

                         CERTIFICATE OF COMPLIANCE

I CERTIFY pursuant to Local Rule 7.1(F) this memorandum contains 2780 words.

                                               /s/ Melissa Horwitz

                                              15  
